
76 Cal.Rptr.3d 171 (2008)
182 P.3d 512
QUIHUIS (Robert)
v.
CITY OF LOS ANGELES.
No. S161544.
Supreme Court of California.
April 9, 2008.
Review granted/briefing deferred (8.512(d)(2) civil case).
The petition for review is granted. Further action in this matter is deferred pending consideration and disposition of a related issue in Mays v. City of Los Angeles, S149455 (see Cal. Rules of Court, rule 8.512(d)(2)), or pending further order of the court. Submission of additional briefing, pursuant to California Rules of Court, rule 8.520, is deferred pending further order of the court.
GEORGE, C.J., and KENNARD, BAXTER, WERDEGAR, CHIN, MORENO, and CORRIGAN, JJ., concur.
